                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF TEXAS

JAMARQUIS ETHERIDGE,                               §
                                                   §    CASE NO.
         Plaintiff                                 §
                                                   §
v.                                                 §
                                                   §
AT&T, INC. AND AT&T MOBILITY, LLC                  §
                                                   §
         Defendants.                               §
                                                   §    JURY TRIAL DEMANDED


                                             COMPLAINT

Plaintiff Jamarquis Etheridge (“Etheridge”) is an individual and citizen of the State of Texas, by

and through his counsel, Richard E. Brown of Richard E. Brown Attorney at Law, PC, complains

and alleges based on his personal knowledge with respect to his own acts and on information and

belief with respect to all other matters as follows:

                                        I.   INTRODUCTION

         1.        Plaintiff Etheridge is a current wireless telephone customer of Defendants AT&T,

Inc., and AT&T Mobility, LLC (collectively referred to as “AT&T” or “Defendant”). This is an

action for damages and remedies for violations of, inter alia, the Federal communications Act,

47 U.S.C. § 201, arising in part from AT&T's failure to provide reasonable and appropriate

security to maintain the security of and prevent unauthorized access to Plaintiff Etheridge's

wireless account.

         2.        On or about September 10, 2020 AT&T improperly allowed wrongdoers access to

Plaintiff Etheridge's wireless account and, without his authorization. AT&T was unable to

contain this security breach until the next day, enabling wrongdoers to drain Plaintiff Etheridge's

cryptocurrency exchange account.

                                                   1

db/20-12011/Complaint
         3.        As a result of this breach of security, Plaintiff Etheridge's exchange account was

subjected to unauthorized transfers; he was deprived of his use of his cell phone number and

required to expend time, energy, and expense to address and resolve this financial disruption and

mitigate the consequences; and he also suffered consequent emotion distress.

                                 II.   JURISDICTION AND VENUE

         4.        This Court has jurisdiction over this matter under 28 U.S.C. §§ 1331 and 1367 on

the grounds of federal question jurisdiction and supplemental jurisdiction over the state law

claims because all the claims are derived from a common nucleus of operative facts and are such

that Plaintiff would ordinarily be expected to try them in one action.

         5.        Venue is proper in this Court under 28 U.S.C. § 1391(b)(2) and (c). A substantial

part of the events or omissions giving rise to this Complaint occurred in this District. AT&T is

also headquartered and has its principal place of business in this District. Wireless services

subject of this Complaint were entered into in part in this District.          AT&T has received

compensation as a result of its acts and practices in this District.

         6.        The Court has jurisdiction over the lawsuit under 28 U.S.C. §1332(a)(1) because

Plaintiff and Defendants are citizens of different U.S. states, and the amount in controversy

exceeds $75,000, excluding interest and costs.

         7.        Unless this Court permanently restrains and enjoins AT&T, AT&T will continue

to engage in the acts and practices alleged in this Complaint.

         8.        Venue is proper in the Southern District of Texas.

                                           III.    PARTIES

         9.        Plaintiff Etheridge is an individual and a resident of Harris County, Texas. Since

in or about 2009 Plaintiff Etheridge has been an accountholder and subscriber with AT&T.

Plaintiff Etheridge entered into the contract with AT&T in Harris County, Texas.
                                                    2

db/20-12011/Complaint
         10.       Defendant AT&T, Inc. is a Delaware corporation doing business in Texas and

may be served with process by serving its Registered Agent, CT Corporation System at 1999

Bryan St., Ste. 900, Dallas, Texas 75201-3136 or wherever it may be found.

         11.       Defendant AT&T Mobility, LLC. is a Delaware limited liability company doing

business in Texas and may be served with process by serving its Registered Agent, CT

Corporation System at 1999 Bryan St., Ste. 900, Dallas, Texas 75201-3136 or wherever it may be

found.

         12.       Plaintiff reserves the right to move the Court to convert and certify this action as a

class action on behalf of the yet undefined class of individuals residing within Texas and/or

elsewhere who were subjected to the same circumstances set forth here.

                                    PRELIMINARY STATEMENT

         13.     This action brought by Plaintiff Etheridge, an AT&T customer who lost hundreds of

thousands of dollars in an incident of a rapidly-emerging identity theft crime: “SIM swapping” or

“SIM hijacking”.

         14.     A subscriber identity module, widely known as a “SIM card,” stores user data in

phones on the Global System for Mobile (GSM) network – the radio network used by AT&T to

provide cellular telephone service to its subscribers.

         15.     SIM cards are principally used to authenticate cellphone subscriptions; as without a

SIM card, GSM phones are not able to connect to AT&T’s telecommunications network.

         16.     Not only is a SIM card vital to using a phone on the AT&T network, the SIM card

also holds immeasurable value as a tool to identify the user of the phone – a power that can be

corrupted to steal property and the identity of that user.

         17.     AT&T’s Code of Business Conduct specifically promises that AT&T will “protect

the privacy of our customers’ communication” because “[n]ot only do our customers demand
                                                     3

db/20-12011/Complaint
this, but the law requires it. Maintaining the confidentiality of communication with AT&T’s

duties and obligations under the Federal Communications Act of 1934 and the pertinent

implementing regulations.

         18.     Moreover, AT&T was well aware of the pervasive harm posed by SIM swapping,

as AT&T has issued public advisories warning customers of the “industry-wide” threat and

assuring those customers that AT&T was exercising adequate measures to prevent authorized

SIM swapping from happening to its accountholders.

         19.     Notwithstanding AT&T’s knowledge of the prevalence of SIM swapping and its

assurance that it was actively protecting its customers, those measures did not adequately protect

Plaintiff Etheridge from the harm he suffered.

         20.     As a result of AT&T’s failures if not active participation in SIM swap theft that was

inflicted upon him, Plaintiff Etheridge has had over 159.8 ETHEREUM Tokens of assets stolen

from him.

         21.     Plaintiff Etheridge seeks compensatory and equitable relief restoring to him 159.8

ETHEREUM Tokens that were illegally taken from him as a result of AT&T’s conduct and as

alleged herein.

         22.     Since in or about 2009, Plaintiff Etheridge has been an accountholder and

subscriber with AT&T.



                               OTHER LIABLE PERSONS/ENTITIES

         23.     In addition to the entity set forth as Defendants herein, there are likely other parties

who may well be liable to Plaintiff Etheridge, but respecting whom Plaintiff Etheridge currently

lacks specific facts to permit him to name such person or persons as a party-respondent. By not


                                                     4

db/20-12011/Complaint
naming such persons or entities at this time, Plaintiff Etheridge is not waiving the right to amend

this pleading to add such parties, should the facts warrant adding such parties.

                                            IV.   FACTS

           24.     AT&T markets and sells wireless telephone service through standardized wireless

service plans at various retail locations, online sales, and over the telephone. In connection with

its wireless services, AT&T maintains wireless accounts enabling its customers to have access to

information about the services they purchase from AT&T.

           25.     It is widely recognized that mishandling of customer wireless accounts can

facilitate identify theft,     related consumer harms, including the theft of third parties of

consumers, including Plaintiff Etheridge.

           26.     Among other things, AT&T's sales and marking materials state "we have

implemented various policies and measures to ensure that our interactions are with you or those

you authorize to interact with us on your behalf – and not with others pretending to be you or

claiming a right to access your information." 1

           27.     AT&T's sales and marking materials further state that, unless AT&T can verify

the caller's identity through certain personal information or a PIN if requested by customer,

AT&T's policy is not to release any account specific information.

           28.     Despite these statements and other similar statements, AT&T failed to provide

reasonable and appropriate security to prevent unauthorized access to customer accounts. Under

AT&T's procedures, an unauthorized person, including AT&T's own agents and employees

acting without the customer's permission, can be authenticated and then access and make

changes to all the information the legitimate customer could access and make changes to if the

customers were so authorized. As set forth in this Complaint, AT&T also fails to disclose or

11
     Emphasis added.
                                                  5

db/20-12011/Complaint
discloses misleadingly that its automated processes or human performances often fall short of its

express and implied representations or promises.

         29.       In or about 2009, Plaintiff Etheridge entered into a service agreement with AT&T.

         30.       This agreement was for service on one (1) wireless telephones, for Plaintiff

Etheridge.

         31.       On or about September 10, 2020, Plaintiff noticed his phone service was not

working and immediately called AT&T to find out that his service was compromised.

         32.       Without obtaining Plaintiff’s permission, his phone service had a four (4) digit

passcode as well. While on the phone with the agent, Plaintiff was told to update a new passcode

to his account and the agent would add “extra” security measures to Plaintiff’s account.

         33.       Plaintiff’s phone was restored hours later. The following day, Plaintiff’s phone

service was not working again and Plaintiff immediately called AT&T to see why this was

happening and the agent said it was because the first agent only added Plaintiff’s SIM back to the

account and did not disable the fraudulent SIM. The actions of the first agent was how the

fraudsters were able to deplete most of Plaintiff’s cryptocurrency account.

         34.       The neglect of on behalf of AT&T’s first agent/employee is clear, since Plaintiff’s

services have not been compromised since the second agent restored Plaintiff’s services and

completed the job properly.

         35.       Meanwhile, however, as a result of AT&T's failure to provide reasonable and

appropriate security to prevent unauthorized access to Plaintiff Etheridge's wireless account, after

getting control of Plaintiff Etheridge's phone number, wrongdoers were able to change Plaintiff

Etheridge's password on one of his cryptocurrency accounts and remove most of the contents –

159.8 ETHEREUM Tokens (“Plaintiff Etheridge’s 159.8 ETHEREUM Tokens”).

         36.       After the incident, ETH price reached more than $4,200 per coin token.
                                                    6

db/20-12011/Complaint
         37.       By its procedures, practices and regulations, AT&T engages in practices that,

taken together, fail to provide reasonable and appropriate security to prevent unauthorized access

to its customer wireless accounts, allowing unauthorized persons to be authenticated and then

granted access to sensitive customer wireless account data, including access and control over

159.8 ETHEREUM Tokens.

         38.       In particular, AT&T has failed to establish or implement reasonable policies,

procedures, or regulations governing the creation and authentication of user credentials for

authorized customers accessing AT&T accounts, creating unreasonable risk of unauthorized

access. As such, at all times material hereto, AT&T has failed to ensure that only authorized

persons have such access and the customer accounts are secure.

         39.       Among other things, AT&T:

         a. failed to establish or enforce rules sufficient to ensure only authorized persons have
            access to AT&T customer accounts;

         b. failed to establish appropriate rules, policies and procedures for the supervision and
            control of its officers, agents or employees;

         c. failed to establish or enforce rules, or provide adequate supervision or training,
            sufficient to ensure that all its employees or agents follow the same policies and
            procedures. For example, it is often possible to persuade one of AT&T agents to not
            apply the stated security policy and allow unauthorized access without providing a
            PIN. similarly, on information and belief, AT&T agents or employees generally act
            on their own regardless of what is in the notes of a customer account, failing, among
            other things, to accommodate customers' security requests;

         d. failed to adequately safeguard and protect its customers wireless accounts, including
            that of Plaintiff Etheridge, so wrongdoers were able to obtain access to his account;

         e. permits the sharing of and access to user credentials among AT&T's agents or
            employees without a pending request from the customer, thus reducing likely
            detection of, and accountability for, unauthorized accesses;

         f. failed to suspend user credentials after a certain number of unsuccessful access
            attempts. For example, wrongdoers would call numerous times trying to gain access
            to customer accounts before they finally got an agent on the line that would authorize
            access without requiring, for example, a PIN;
                                                 7

db/20-12011/Complaint
         g. failed to adequately train and supervise its agents and employees in such a manner
            that allows its agents or employees, without authorization or approval to unilaterally
            access and make changes to customer accounts as if the customer were so authorized;

         h. allows porting out of phone numbers without properly confirming that the request is
            coming from the legitimate customers;

         i. lacked proper monitoring solutions and thus fails to monitor its systems for the
            presence of unauthorized access in a manner that would enable AT&T to detect the
            intrusion so that the breach of security and diversion of customer information was
            able to occur in Plaintiff Etheridge’s situation and continue until after his virtual
            currency account was compromised;

         j. failed to implement simple, low-cost, and readily-available defenses to identity
            thieves such as delaying transfers from accounts on which the password was recently
            changed or simply delaying transfers from accounts to allow for additional
            verifications from the customers; and

         k. failed to build adequate internal tools to help protect its customers against hackers
            and account takeovers, including compromise through phone porting and wrongdoing
            by its own agents or employees actin on their own behalf or on behalf or at the
            request of a third party.

         40.       By the security practices and procedures described here, AT&T established user

credential structures that created an unreasonable risk of unauthorized access to customer

accounts, including that of Plaintiff Etheridge.

         41.       On information and belief, AT&T has long been aware about the security risks

presents by, inter alia, its weak user credential structures or procedures. From prior attacks on

customer accounts, AT&T has long had notice of those risks. In addition, AT&T did not use

readily-available security measures to prevent or limit such attacks.

         42.       As a result of AT&T's faulty security practices, an attacker could easily gain

access to a customer's account and then use it to gain access to the customer's sensitive

information such as bank accounts or virtual currency accounts, among other things.

         43.       As such, AT&T's security measures were entirely inadequate to protect its

customers, including Plaintiff Etheridge.
                                                   8

db/20-12011/Complaint
         44.       Lack of adequate security in AT&T's systems, practices, or procedures enabled

the wrongdoers to access Plaintiff Etheridge's wireless account, which then enabled the

wrongdoers to access and steal his virtual currency account and possibly other sensitive

information.

         45.       As such, AT&T failed the responsibility it owed to Plaintiff Etheridge to protect

his account and his phone number. Even if the subject incident was due to an "inside" job or

human performance falling short, AT&T is responsible for its agent. And, while AT&T can

outsource customer service functions, AT&T cannot transfer accountability.

         46.       Had AT&T provided adequate account security or exercised reasonable oversight,

Plaintiff Etheridge would not have lost his phone number and Plaintiff Etheridge’s 159.8

ETHEREUM Tokens or otherwise been damaged.

         47.       Making matters worse, Plaintiff Etheridge is not the only AT&T customer to

suffer as a result of AT&T's failure to ensure adequate security of its customer accounts.

         48.       After the incident, Plaintiff Etheridge sent a letter to AT&T explaining the

predicament and trying to resolve this matter. AT&T responded with a low settlement offer.

         49.       Plaintiff Etheridge believed that AT&T's actions were illegal. As such, he sought

assistance of counsel.

         50.       As a direct consequence of AT&T's actions or inactions, Plaintiff Etheridge has

suffered and continues to suffer actual damages, including: (a) lost time; (b) embarrassment and

humiliation; (c) aggravation and frustration; (d) fear; (e) anxiety; (f) financial uncertainty; (g)

unease; (h) emotional distress; (i) expenses, including missed work, delayed projects, postage

expenses and attorney's fees and costs; and (j) lost value of Plaintiff Etheridge’s 159.8

ETHEREUM Tokens.


                                                   9

db/20-12011/Complaint
                             V.    FEDERAL COMMUNICATIONS ACT

         51.       Plaintiff re-alleges the foregoing allegations and incorporates these allegations by

reference as if fully set forth herein.

         52.       The FCA regulates interstate telecommunications carriers such as Defendant.

         53.       Defendant is a common carrier engaged in interstate communication by wire for

the purpose of furnishing communication services within the meaning of section 201(a) of the

FCA. As "common carrier," Defendant is subject to the substantive requirements of sections 201

and 202 of the FCA.

         54.       Under section 201(b), common carriers may impose only those practices,

classifications, and regulations that are "just and reasonable." and, under section 202(a) common

carriers are prohibited from making any unjust or unreasonable discrimination in "practices,

classifications, regulations, facilities, or services."

         55.       Should a common carrier "omit to do any act, matter, or thing in this chapter

required to be done," section 206 dictates that the "common carrier shall be liable to the person

or persons injured thereby for the full amount of damages sustained in consequence of any such

violations … together with a reasonable counsel or attorney's fee[.]"

         56.       Defendant's conduct, as alleged here, constitutes a knowing violation of section

201(b) and section 202(a). Further, under section 217, Defendant is also liable for the acts,

omissions, or failures, as alleged in this Complaint, of any of its offers, agents, or other persons

acting for or employed by Defendant.

         57.       Additionally, Defendant is a "telecommunications carrier" within the meaning of

section 222, which requires every telecommunication carrier to protect, among other things, the

confidentiality of propriety information of, and relating to, customers.


                                                    10

db/20-12011/Complaint
         58.       Defendant's conduct, as alleged here, constitutes a knowing violation of section

222. On information and belief, Defendant disclosed, without Plaintiff's approval, Plaintiff's

proprietary information to a third party or parties for reasons other than for emergency services.

Defendant also improperly permitted access to Plaintiff's customer proprietary network

information in Defendant's provisions of its services.

         59.       As a direct consequence of Defendant's violations of the FCA, Plaintiff has been

damaged and continues to be damaged in an amount to be provide at trial.

                                  VI.     BREACH OF CONTRACT

         60. Plaintiff re-alleges the foregoing allegations and incorporates these allegations by

reference as if fully set forth herein.

         61. Plaintiff entered into a contract both express and implied with Defendant.

         62. Defendant offered to provide wireless phone service in consideration of payment for

services from Plaintiff. Under the terms of the agreement, Plaintiff was required to pay in full

the agree-to charges submitted to him on his bills. Failure to pay in full would cause a breach of

contract and discontinuance of wireless telephone service, among other things. Plaintiff accepted

the offer of services from Defendant and performed all the conditions, covenants, promises, and

agreements required of him under the terms of the contract, and all conditions precedent have

otherwise occurred or been waived.

         63. Among other things, the express and implied terms of the contract were that

Defendant would provide reasonable and appropriate security to prevent unauthorized access to

his wireless account or otherwise safeguard and protect Plaintiff's private and confidential

account information and not transfer his phone number to anyone without his express

authorization.


                                                  11

db/20-12011/Complaint
         64. Defendant has failed, neglected, and refused, and continues to fail, neglect, and

refuse to perform its part of the contract or to tender such performance.

         65. In the absence of such implied and express contract terms, Plaintiff would have acted

differently in his purchasing decision or would not have agreed to entered into a contract with

AT&T. Nor would he have entered into the contract if AT&T had properly disclosed to him the

true extent of its account security measures or lack thereof.

         66. As a direct consequence of Defendant's breach of the contract, Plaintiff has been

damaged and continues to be damaged in an amount to be proven at trial.

                                          VII.   NEGLIGENCE

         67.       Plaintiff re-alleges the foregoing allegations and incorporates these allegations by

references as if fully set forth herein.

         68.       Defendant owed Plaintiff a duty of, inter alia, care in the handling and

safeguarding of his customer account for the purposes of providing wireless services.

         69.       Defendant breached the duties it owed to Plaintiff.

         70.       As a direct consequence of Defendant's negligence, Plaintiff has been damaged

and continues to be damaged in an amount to be proven a trial, no part of which has been paid.

        VIII.       VIOLATION OF TEXAS DECEPTIVE TRADE PRACTICES ACT

         70.       Plaintiff re-alleges the foregoing allegations and incorporates these allegations by

reference as if fully set forth herein.

         71.       Plaintiff is a consumer as that term is defined under the Texas Deceptive Trade

Practices Act (“DTPA”). One or more of the Defendants engaged in deceptive acts or practices

in soliciting Plaintiff to use the AT&T cellular phone service. In particular, the false, misleading

and deceptive acts perpetrated by one or more of the Defendants included, but not limited to:


                                                    12

db/20-12011/Complaint
               a. causing confusion or misunderstanding about the source, sponsorship, approval or
                  certification of goods and services;

               b. causing confusion or misunderstanding about affiliation, connection, or
                  association with, or certification by another;

               c. representing that goods or services have sponsorship, approval, characteristics, or
                  benefits that they do not have;

               d. advertising goods or services with the intent not to sell them as advertised;

               e. representing that an agreement confers or involves rights, remedies or obligations
                  that it does not, or that are prohibited by law;

               f. misrepresenting the authority of the salesman, representative or agent to negotiate
                  the final terms of a consumer transaction; and

               g. failing to disclose information about goods or services that was known at the time
                  of the transaction and the failure to disclose was intended to induce the consumer
                  to enter into the transaction that consumer would not have entered into if the
                  information had been disclosed.

         72.       Plaintiff relied on the false, misleading or deceptive acts and practices engaged in

by one or more of the Defendants. As a result, Plaintiff suffered damages caused by the false,

misleading or deceptive acts or practices by one or more of the Defendants.

         73.       Plaintiff has suffered economic damages as a result of the Defendants’ actions in

an amount to be determined at trial. In addition, because Defendants’ actions were knowing and

intentional violations of the DTPA, Plaintiff is entitled to treble damages under the statute. In

addition, Plaintiff is entitled to his reasonable and necessary attorneys’ fees incurred in the

prosecution of this action. Tex. Bus. Com. Code §17.50(d).

                IX.     NEGLIGENT HIRING, RETENTION, AND SUPERVISION

         74.       Plaintiff re-alleges the foregoing allegations and incorporates these allegations by

                   reference as if fully set forth herein.




                                                      13

db/20-12011/Complaint
         75.       At all times material hereto, Defendant's agents, officers, and employees,

including those directly or indirectly responsible for or involved in transferring Plaintiff's phone

number to another carrier were under Defendant's direct, supervision, and control.

         76.       Defendant further assumed this duty by holding its officers, agents, and

employees out to the public as competent representatives.

         77.       On information and belief, Defendant negligently retained, controlled, trained,

and supervised its agents and employees when Defendant knew or should have known they

posted a security threat. Defendant knew or should have known that is agents or employees

would allow unauthorized access its customer accounts, including that of Plaintiff.

         78.       On information and belief, Defendant negligently retained, controlled, trained,

and supervised its agents and employees so they committed the wrongful acts complained of

herein against Plaintiff and other members of the public. On information and belief, Defendant

failed to properly control and supervise them to ensure customer account safety.

         79.       It was foreseeable to Defendant is agents and employees would compromise

customer account safety or engage in other acts complained of here. Despite this knowledge,

Defendant failed to exercise reasonable care to supervise or control its agents and employees.

On information and belief, Defendant engaged in the acts alleged herein and/or condoned,

permitted, authorized, and/or ratified the conduct of its agents and employees

         80.       As a direct result of Defendant's negligent hiring, control, retention and

supervision, Plaintiff has suffered damages in an amount to be proven at trial.

                    X.    NEGLIGENT INFLICTION OF EMOTION DISTRESS

         81.       Plaintiff re-alleges the foregoing allegations and incorporates these allegations by

reference as if fully set forth herein.

         82.       Defendant could foresee that is actions would harm Plaintiff.
                                                    14

db/20-12011/Complaint
         83.       Defendant had a duty to Plaintiff.

         84.       Defendant breached its duty to Plaintiff.

         85.       Defendant made false and material misrepresentations regarding its security

measures and failed to establish and implement reasonable policies and procedures governing the

creation and authentication of user credentials for persons accessing Defendant's databases and

customer information.

         86.       Defendant's actions have resulted in severe emotion distress and/or garden variety

emotional distress for Plaintiff, and Defendant's reckless disregard for Plaintiff's customer

account has significantly deteriorated Plaintiff's health.

                                    XI.    PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for the following relief:

         1.        Judgment against Defendant for actual damages;

         2.        Statutory damages for DTPA and Federal Communications Act violations;

         3.        Treble damages under DTPA, calculated from the damages determined by the

Court;

         4.        Award of reasonable attorney fees and reimbursement of all costs for the

prosecution of this action under DTPA and other statutory provisions;

         5.        Pre – and post-judgment interest on any amounts awarded;

         6.        Punitive damages as applicable; and

         7.        Such other and further relief as the Court deems just and proper.

                                           TRIAL BY JURY

         Under the seventh amended to the Constitution of the United States of America, Plaintiff

is entitled to, and demands, a trial by jury.


                                                    15

db/20-12011/Complaint
         DATED this 8th day of September 2021.



                                    Respectfully submitted,

                                    RICHARD E. BROWN ATTORNEY AT LAW, P.C.

                                    /s/ Richard E. Brown
                                    RICHARD E. BROWN
                                    54 Sugar Creek Center Blvd., Suite 300
                                    Sugar Land, Texas 77478
                                    Tel: (713) 977-8178
                                    Fax: (281) 888-1723
                                    E-mail: brownreb34@aol.com
                                    State Bar of Texas No. 03162400

                                    ATTORNEY FOR PLAINTIFF
                                    JAMARQUIS ETHERIDGE




                                             16

db/20-12011/Complaint
